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                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


UNITED STATES OF AMERICA,                     :      Case No. 3:17CR072

               Plaintiff,                     :      Judge Thomas M. Rose

        v.                                    :

DONTE T. GREEN (1),                           :

               Defendant.                     :

                            PRELIMINARY ORDER OF FORFEITURE
                             AS TO DEFENDANT DONTE T. GREEN

        Upon the Motion of the United States for a Preliminary Order of Forfeiture, and the

Court’s review of the evidence in the record, including the Plea Agreement, the Court HEREBY

FINDS THAT:

1.      The Defendant pled guilty to Count One of the Indictment, charging him with Fraudulent

Production, Control and Possession of Device Making Equipment, in violation of 18 U.S.C.

§ 1029(a)(4) and to Count Three, charging him with Conspiracy to Traffic in Counterfeit Access

Devices, in violation of 18 U.S.C. § 1029(a)(1) and (b)(2).

2.      The Defendant has an interest in the following property (hereinafter referred to as the

“Subject Property”):

        a.     HP Laptop, Serial No. 5CD4125MX2;
        b.     Embossing Machine, no Serial No.;
        c.     Card Reader/Encoder, Serial No. A5160711888;
        d.     $467.00 in U.S. Currency;
        e.     LG Flip Phone, Serial No. 410CYWC048697;
        f.     iPhone 7, Serial No. 579C-E3091A; and
        g.     iPhone plus, Serial No. 579C-E2817A7.
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3.      The Subject Property is forfeitable, pursuant to 18 U.S.C. § 1029(c)(1)(C), as personal

property used or intended to be used to commit the Defendant’s offenses alleged in Counts One

and Three of the Indictment.

4.      The United States has established the requisite nexus between the Subject Property and

the Defendant’s offenses.

        THEREFORE, IT IS HEREBY ORDERED THAT:

5.      The Defendant shall hereby forfeit, pursuant to 18 U.S.C. § 1029(c)(1)(C), any personal

property used or intended to be used to commit the Defendant’s offenses alleged in Counts One

and Three of the Indictment, including the Subject Property, as detailed above.

6.      The Defendant having agreed to the immediate forfeiture of the Subject Property, this

Preliminary Order of Forfeiture is final as to the Defendant and shall be made part of the

sentence and included in the judgment. This order remains preliminary as to third parties until

the ancillary proceeding is concluded.

7.      The United States is authorized to seize the Subject Property, whether held by the

Defendant or a third party; conduct any discovery proper in identifying, locating or disposing of

the property subject to forfeiture; and to commence proceedings that comply with any statutes

and federal rules governing third party rights, in accordance with Fed. R. Crim. P. 32.2(b)(3).

8.      In accordance with the direction provided by the Attorney General and Federal Rule of

Criminal Procedure 32.2(b)(6), the United States shall publish notice of this Preliminary Order of

Forfeiture and send notice to any person who reasonably appears to be a potential claimant with

standing to contest the forfeiture in the ancillary proceeding. Publication must take place as

described in Supplemental Rule G(4)(a)(iii) of the Federal Rules of Civil Procedure, and may be




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by any means described in Supplemental Rule G(4)(a)(iv). Publication is unnecessary if any

exception in Supplemental Rule G(4)(a)(i) applies.

9.       The notice must describe the forfeited property, state the times under the applicable

statute when a petition contesting the forfeiture must be filed, and state the name and contact

information for the Assistant United States Attorney to be served with the petition. The notice

may be sent in accordance with Supplemental Rules G(4)(b)(iii)-(v) of the Federal Rules of Civil

Procedure.

10.      Any person, other than the Defendant, filing a petition to contest the forfeiture of specific

property, must sign the petition under penalty of perjury and shall set forth the nature and extent

of the petitioner’s right, title, or interest in the property, the time and circumstances of the

petitioner’s acquisition of the right, title, or interest in the property, any additional facts

supporting the petitioner’s claim, and the relief sought.

11.      If a third party files a petition asserting an interest in the Subject Property, the court will

conduct an ancillary proceeding.

12.      When the ancillary proceeding ends, the court will enter a final order of forfeiture by

amending the preliminary order as necessary to account for any third-party rights. If no third

party files a timely petition, this Preliminary Order of Forfeiture will become the Final Order of

Forfeiture.

13.      The United States shall have clear title to the Subject Property following the court’s

disposition of all third party interests, or if no third party petitions are timely filed, following the

expiration of the period provided by statute for the filing of third party petitions.




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14.      The Court shall retain jurisdiction to enforce this order; and to amend it as necessary,

pursuant to Fed. R. Crim P. 32.2(e).



Dated:
                                               SO ORDERED:
January 22, 2018                               *s/Thomas M. Rose

                                               ____________________________________
                                               THOMAS M. ROSE
                                               UNITED STATES DISTRICT COURT JUDGE




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